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                 EXHIBIT 9
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                              Custom turned                      Customized size                good quality                    Customized
                              aluminum Stainless                 Aluminum female                customized Hex Pcb              plastic/Steel
                              Huizhou City Jiyan Precisi...      Shenzhen Fute Hardware ...     Dongguan Hongyan Hardw...       Dongguan Jingyan Metal ...

                              US $0.03-1 / Piece                 US $0.02-0.15 / Piece          US $0.01-0.3 / Piece            US $0.1-10 / Piece
                              1 Piece (Min. Order)               10000 Pieces (Min. Order)      1000 Pieces (Min. Order)        10 Pieces (Min. Order)

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                              Factory price m3 m4                Hot~~high quality              Alibaba China Supplier          Quality RoHS Custom
                              m5 m6 nylon pcb                    custom made pcb                Pcb Aluminum Standoff           pcb spacer
                              spacer
                              Shenzhen Huayuan Precis...         plastic spacer
                                                                 Shenzhen S-Martsupport
                                                                                 Electron...    Spacer
                                                                                                Shenzhen Sozn Ironware P...     Shenzhen FS Technology ...

                              US $0.01-0.1 / Piece               US $0.01-1 / Piece             US $0.001-0.9 / Piece           US $0.1-10 / Piece
                              1 Piece (Min. Order)               1 Piece (Min. Order)           10000 Pieces (Min. Order)       1 Piece (Min. Order)

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                              Hot sale aluminum                  Brass screw pcb                Hex Brass Standoff              Low Price OEM Nylon
                              fasteners, aluminum                standoff hex spacers           Spacer, Male Female             PCB Spacer
                              standoff, Jianfa
                              Hangzhou  spacer, PCB
                                               Machine...        male to female
                                                                 Shenzhen       thread
                                                                          Huaxianglian H...     Standoff
                                                                                                Shenzhen Xinwangyuan T...       Manufacturer
                                                                                                                                Gesp Technologyin(Dalian)
                                                                                                                                                   China...                                  
                              200 Pieces (Min. Order)            US $0.01-0.5 / Piece           US $0.01-0.5 / Piece            US $80-150 / Square Meter
                                                                 1000 Pieces (Min. Order)       100 Pieces (Min. Order)         0.2 Square Meters (Min. Order)
                                                                                                                                                                                            
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                              China top quality oem              good quality custom            Plastic modling type            custom made high
                              aluminum pcb spacer                made brass threaded            pcb spacer support with         quality good price glass
                              Shenzhen Jingbang Techn...         Donguan Tangxia Shuang...      Shenzhen Shuyi Electronic...    Dongguan Xiexu Hardware...
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                 Custom
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                          Shenzhen Jingbang Techn...      Donguan Tangxia Shuang...     Shenzhen Shuyi Electronic...    Dongguan Xiexu Hardware...

                          US $0.25-2.5 / Piece            US $0.01-0.1 / Piece          US $0.1-10 / Piece              US $0.1-0.2 / Acre
                          1 Piece (Min. Order)            500 Pieces (Min. Order)       1 Piece (Min. Order)            1 Acre (Min. Order)

                               Contact Supplier               Contact Supplier             Contact Supplier               Contact Supplier




                          Specialize PCB                  nylon pcb spacer pcb          customized FR4 ODM              PCB Assembly,led
                          manufacture in China            standoff with good            PCB board spacer PCB            spacer support pcb
                          ,supply pcb
                          Shenzhen Jingbang   with
                                      spacerTechn...      quality and
                                                          Shenzhen    low price
                                                                   Shuoqiang Elec...    spacer
                                                                                        BLD     support
                                                                                            Electronic Co., Ltd.        supports,p10
                                                                                                                        Shenzhen      led pcb
                                                                                                                                 King Fung Tech...

                          US $0.1-10 / Piece              US $0.1-5 / Piece             US $1-10 / Piece                US $0.001-5 / Piece
                          1 Piece (Min. Order)            1 Piece (Min. Order)          1 Piece (Min. Order)            1 Piece (Min. Order)

                               Contact Supplier               Contact Supplier             Contact Supplier               Contact Supplier




                          New products stainless          double sided pcb              custom machining                Hot~~high quality
                          steel pcb spacer CNC                                          small knurl stainelss           custom made pcb
                          Huizhou City Jiyan Precisi...   Shijiazhuang Ourpcb Tech...   Huizhou City Jiyan Precisi...   Shenzhen S-Mart Electron...

                          US $0.01 / Pieces               US $1-10 / Piece              US $0.1-1.98 / Piece            US $0.01-1 / Piece
                          100 Pieces (Min. Order)         10 Pieces (Min. Order)        1000 Pieces (Min. Order)        1 Piece (Min. Order)

                               Contact Supplier               Contact Supplier             Contact Supplier               Contact Supplier




                          good price M2,M2.5,M3           Precision pcb spacer          Factory price anodized          China professional
                          M4 nylon female to              oem pcb spacer                pcb standoff/Round              supplier custom made
                          female threaded
                          Dongguan Hongyanpcb
                                           Hardw...       prototypeFSpcb
                                                          Shenzhen       spacer ...
                                                                      Technology        spacer
                                                                                        Shenzhen Huayuan Precis...      PCB spacers
                                                                                                                        Dongguan  Jingyan Metal ...
                                                                                                                                                                        
                          US $0.01-0.3 / Piece            US $0.8-1.5 / Piece           US $0.01-0.35 / Piece           US $0.01-1 / Piece
                          1000 Pieces (Min. Order)        1 Piece (Min. Order)          1 Piece (Min. Order)            5000 Pieces (Min. Order)
                                                                                                                                                                        
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                          Brass Standoff/High             Mould Plastic Modling         High quality aluminum           pcb spacer nut
                          Quality RoHS                    Type pcb spacer               fasteners, aluminum
                          Compliant
                          Shenzhen   Product T...
                                   Xinwangyuan            support Shuyi Electronic...
                                                          Shenzhen                      standoff, Jianfa
                                                                                        Hangzhou  spacer, PCB
                                                                                                         Machine...     Shenzhen Sozn Ironware P...

                          US $0.01-0.5 / Piece            US $0.1-10 / Piece            200 Pieces (Min. Order)         US $0.001-0.01 / Piece
                          100 Pieces (Min. Order)         1 Piece (Min. Order)                                          1000 Pieces (Min. Order)

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                                    pcb for FR-4 material          Smart Bes~Customized              Custom high quality m3         good quality Brass
                                                                   HASL fr4/94v0 Double              nylon pcb spacer               standoff high quality
                                    Shijiazhuang Ourpcb Tech...    Sided PCB
                                                                   Shenzhen   and Electron...
                                                                            S-Mart pcb               Shenzhen Huayuan Precis...     spacer m3
                                                                                                                                    Shenzhen   8mm
                                                                                                                                             Xinwangyuan  T...

                                    US $0.5-9 / Piece              US $0.01-0.1 / Piece              US $0.01-0.1 / Piece           US $0.01-0.5 / Piece
                                    10 Pieces (Min. Order)         1 Piece (Min. Order)              1 Piece (Min. Order)           100 Pieces (Min. Order)

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